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uNiTED sTATEs oF AiviEaicA, WD O'*: "‘" "
Piainiiff
vs.
ca. i\io. 05-20040-3
wiLLiE E. TAYLoa,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

This cause came on for a report date on April 25, 2005. At that time counsel for the

defendant requested a continuance of the l\/lay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to June 6 2005 with a rep_or
date of Tuesdav. |V|av 31, 2005. at 9:30 a m

., in Courtroom 1. ttth F|oor of the Federal
Building, l\/lemphis, TN.

The period from April 25, 2005 through June 17, 2005 is excludable under 18
U.S.C. §3161(h)(8)(

B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial

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Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:05-CR-20040 Was distributed by faX, mail, or direct printing on
May 4, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

